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DISTRICT COURT OF GUAM
JUN ' 8 2005
MARV L.M. MORAN
CLERK OF COURT
DISTRICT COURT OF GUAM ,\
TERRITORY OF GUAM \
S.J. GARGRAVE SYNDICATE AT LLOYDS,
Plaintiff, . Civil Case No. 03-00009
vs.
BLACK CONSTRUCTION CORPORATION,
WINZLER & KELLY, and ENG]NEERING
MANAGEMENT & PLANNING SERVICES ORDER
CORPORATION,
Defendants.

 

 

Due to the scheduling needs of the Court, the June 13, 2005 trial in the above-captioned
proceeding is hereby VACATED. The plaintiff shall confer with the defendants and submit, no
later than Thursday, June 23, 2005, a list of five possible dates for the trial. The parties should bear
in mind When providing dates that the trial is expected to last two weeks and the date the Court
selects is subject to the availability of a judge and courtroom

SO ORDERED this g day of June, 2005.

 

Designated Jud

 

*The Honorable Ricardo S. Martinez, United States District Judge for the Western District of
Washington, by designation

Case 1:03-cv-00009 Document 195 Filed 06/08/2005 Page 1 of1

 

